AO 245C               CaseAmended
                (Rev. 09/11) 2:08-cr-00064-JCM-EJY
                                  Judgment in a Criminal Case           Document 441            Filed 04/02/12 (NOTE:
                                                                                                                  Page     1 of
                                                                                                                      Identify    11 with Asterisks (*))
                                                                                                                               Changes
                Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                         District of                                      Nevada
           UNITED STATES OF AMERICA                                                 AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                       AMY R. ORTIZ                                                 Case Number:                  2:08-cr-64-RLH-GWF-5
                                                                                    USM Number:                   42822-048
Date of Original Judgment: January 13, 2012                                         TODD LEVENTHAL
(Or Date of Last Amended Judgment)                                                  Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                   G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                    G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                          Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))               G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
X Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                    to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                    G Direct Motion to District Court Pursuant to G28 U.S.C. § 2255 or
                                                                                      G 18 U.S.C. § 3559(c)(7)
                                                                                    G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X pleaded guilty to count(s) One and Two of the Superseding Information
G pleaded nolo contendere to count(s)
    which was accepted by the court.
G was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                               Offense Ended                  Count

18 USC §§ 1343 & 2                  Wire Fraud; Aiding and Abetting                                                     3/12/08                          1
26 USC § 7206(2)                    Aid or Assist in Making a False Statement                                             2007                           2


       The defendant is sentenced as provided in pages 2                        6              of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
X Count(s) *as charged in underlying Indictment G is                    X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                    January 13, 2012
                                                                                    Date of Imposition of Judgment


                                                                                    Signature of Judge
                                                                                    ROGER L. HUNT, UNITED STATES DISTRICT JUDGE
                                                                                    Name and Title of Judge
                                                                                    April 2, 2012
                                                                                    Date
AO 245C        Case
             (Rev.    2:08-cr-00064-JCM-EJY
                   09/11) Amended Judgment in a CriminalDocument
                                                         Case    441                Filed 04/02/12          Page 2 of 11
             Sheet 2 — Imprisonment                                                                  (NOTE: Identify Changes with Asterisks
                                                                                                  Judgment — Page          2   of     6
DEFENDANT:                 AMY R. ORTIZ
CASE NUMBER:               2:08-cr-64-RLH-GWF-5

                                                            IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of : TIME SERVED as to each count




G      The court makes the following recommendations to the Bureau of Prisons:




G      The defendant is remanded to the custody of the United States Marshal.

G      The defendant shall surrender to the United States Marshal for this district:
       G     at                                 G    a.m.      G    p.m.      on                                       .

       G     as notified by the United States Marshal.

G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

       G     before 2 p.m. on                                            .

       G     as notified by the United States Marshal.

       G     as notified by the Probation or Pretrial Services Office.


                                                                RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at                                                   with a certified copy of this judgment.




                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
AO 245C          Case
               (Rev.    2:08-cr-00064-JCM-EJY
                     09/11) Amended Judgment in a CriminalDocument
                                                           Case    441                 Filed 04/02/12           Page 3 of 11
               Sheet 3 — Supervised Release                                                            (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment—Page          3     of         6
DEFENDANT:                 AMY R. ORTIZ
CASE NUMBER:               2:08-cr-64-RLH-GWF-5
                                                      SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :

                 3 YEARS as to Count One and 1 YEAR as to Count Two, each to run concurrently, one with the other



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The Defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court, not to exceed 104 tests annually. Revocation is mandatory for refusal to comply.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the defendant’s
        compliance with such notification requirement.
AO 245C   (Rev.Case     2:08-cr-00064-JCM-EJY
                09/11) Amended Judgment in a Criminal Case   Document 441   Filed 04/02/12       Page 4 of 11
          Sheet 3C — Supervised Release                                                      (NOTE: Identify Changes with Asterisks (*))
                                                                                        Judgment—Page           4     of         6
DEFENDANT:               AMY R. ORTIZ
CASE NUMBER:             2:08-cr-64-RLH-GWF-5

                                      SPECIAL CONDITIONS OF SUPERVISION



1) The defendant shall be confined to home confinement with location monitoring *by telephone for a period of
one (1) year. Defendant shall not be responsible for payment of the costs of the monitoring services.
2) The defendant shall not possess, have under her control, or have access to any firearm, explosive device, or
other dangerous weapons, as defined by Federal, state or local law.
3) The defendant shall submit to the search of her person, property, residence, or automobile under her control by
the Probation Officer, or any other authorized person under the immediate and personal supervision of the
Probation Officer without a search warrant to ensure compliance with all conditions of release.
4) The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or
negotiating or consummating any financial contracts without the approval of the Probation Officer.
5) The defendant shall provide the Probation Officer access to any requested financial information, including
personal income tax returns, authorization for release of credit information, and any other business financial
information in which she has a control or interest.
6) The defendant is restricted from engaging in employment, consulting or any association with any mortgage
business for a period of three (3) years.


Note: A written copy of the conditions of release was provided to the Defendant by the Probation Officer in open
Court at the time of sentencing.
AO 245C    (Rev.Case     2:08-cr-00064-JCM-EJY
                 09/11) Amended Judgment in a Criminal Case    Document 441             Filed 04/02/12          Page 5 of 11
           Sheet 5 — Criminal Monetary Penalties                                                            (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment — Page     5         of         6
DEFENDANT:                      AMY R. ORTIZ
CASE NUMBER:                    2:08-cr-64-RLH-GWF-5
                                        CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                              Restitution
TOTALS           $ 200.00                                        $    WAIVED                            Ct. I: $3,314,258.60 (joint & several)
                                                                                                        Ct II: $40,435.00



G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                         Restitution Ordered                     Priority or Percentage

(See Attached                                                                      $3,354,693.60
 Restitution Payee List)




TOTALS                            $                                        $          3,354,693.60


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for         G fine         G restitution.
     G the interest requirement for the       G fine          G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
AO             Case
            (Rev. 09/11)2:08-cr-00064-JCM-EJY           Document 441
                         Amended Judgment in a Criminal Case                            Filed 04/02/12           Page 6 of 11
            Sheet 6 — Schedule of Payments                                                              (NOTE: Identify Changes with Asterisks
                                                                                                     Judgment — Page         6      of        6
DEFENDANT:                 AMY R. ORTIZ
CASE NUMBER:               2:08-cr-64-RLH-GWF-5

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            3,354,893.60        due immediately, balance due

          G not later than                                       , or
          X in accordance with G C,             G D,       G     E, or    X F below; or
B    G Payment to begin immediately (may be combined with                G C,        G D, or      G F below); or
C    G Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                   over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X Special instructions regarding the payment of criminal monetary penalties:
          RESTITUTION SHALL BE PAID MONTHLY AT A RATE OF 10% OF GROSS MONTHLY INCOME, SUBJECT TO
          ADJUSTMENT BASED ON ABILITY TO PAY.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and corresponding
     payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
X    The defendant shall forfeit the defendant’s interest in the following property to the United States:
     (See Attached Preliminary and Final Orders of Forfeiture)


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
   Case 2:08-cr-00064-JCM-EJY           Document 441   Filed 04/02/12   Page 7 of 11




                                     U.S. v. Amy Ortiz
                                 2:08-cr-00064-RLH-GWF
                                     Restitution List


WMC Mortgage                                    $960,409.72
3100 Thornton Avenue
Burbank, California 91504

Capital One Financial Corporation               $140,847.22
(formerly Greenpoint Mortgage)
1680 Capital One Drive, #1400
McLean, Virginia

CMG Mortgage, Inc.                              $46,966.31
3160 Crow Canyon Road
San Ramon, California 34583-1382

BNC Mortgage, Inc.                              $170,194.41
2275 Sampson Ave., #200
Corona, California 92879

Stonecreek Funding                              $63,550.00
4343 North Scottsdale Road, Suite 100
Scottsdale, Arizona 85251

Finance America                                 $910,457.15
P.O. Box 9700
Boulder, Colorado 80301

Lime Financial                                  $606,916.00
5885 Meadows Road, Suite 600
Lake Oswego, Oregon 970350

Entrust Mortgage, LLC                           $105,769.78
Wells Fargo Bank, N.A.
420 Montgomery Street
San Francisco, CA 91404

Mylor Financial                                 $57,213.32
15451 San Fernando Mission Blvd.
Mission Hills, California 91345-1368

Meritage Mortgage                               $52,750.00
5885 Meadows Road, Suite 350
Lake Oswego, Oregon 970350

Aegis Wholesale                                 $199,184.69
11200 Westheimer Road, Suite 900
Houston, TX 77042-3229
   Case 2:08-cr-00064-JCM-EJY       Document 441   Filed 04/02/12   Page 8 of 11



Internal Revenue Service                    $40,435.00
Attn: Mail Stop 6261, Restitution
Kansas City, Missouri 64108
     Case
      Case2:08-cr-00064-JCM-EJY
           2:08-cr-00064-RLH -GWF Document
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 8 UNITED STATES OF AM ERICA                                                                         I
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 9                         Plaintifl,                )
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10           v.                                      )          2:08-CR-0064-RLH-GW F
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11 AMY R.ORTIZ,                                      )
                                                     )
12                         Defendant.                )
13                                      ORDER OF FORFEITURE                                          I
                                                                                                     i
14           On February 11,2011.defendantAM Y R.ORTIZ pled guilty to CountsOne and Two of i
                                                                                                     i
15 aTw'
      o-countCNriminalSuperseding lntbrmation charging herin CountOne with W ireFraud in i
                                                                                                     I
16 N'iolationofTitle 18,United StatesCode,Section 1343and charging herin CountTwo w ith Aid or I
17 AssistinPreparinga17alseStatementinviolationof26U.S.C.j7206(2),andagreedtothetbrfeiture 1         ,


18 ofproperty setforth in the Forfeiture A llegations in the Crim inalSuperseding lnform ation.
19           'FhisCourttsndsthatAM Y R.ORTIZ shallpayacriminalforfeituremoneyjudgmentof .
                                                                                                     I
20 $212.874.93in UnitedStatesCurrencyto theUnited StatesofAm erica,pursuantto Fed.R.Crim .P. .
                                                                                                     :
21 32.2(b)(1)and (2),'Fitle l8,United StatesCode,Section 981(a)(1)(C)and Title28,United States .
22 Code-Section 2461(c); Title 18.United StatesCode,Section 982(a)(2)(A))and Title 21,United
                                                                                                     !
23 StatesCtlde,Sectioll853(p).                                                                       '
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 1 . THEREFORE,IT IS HEREBY ORDERED,ADJUDGED, AND DECREED thattheUnited States I
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            rom AM Y R oR-lzacriminaltbrreituremoneyjudgmentintheamount0:$212,874.93 1
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                                                           CLERK,t).s.DISTRICT COURT
                                                              DISTRICT oF NEVADA
                                                      BY                         DEPUTY



                          UNITED STATES DISTRICT COURT
                               DISTRICT O F NEVADA

  UNITED STATES OF AM ERICA.                     )
                                                 )
                     Plaintiff,                  )
                                                 )
                                                 )      2:08-CR-064-RLH (GW F)
                                                 )
  AM Y R.ORTIZS                                  )
                                                 )
                     Defendant.                  )

                                  O R D ER O F FO RFE ITU RE
         ThisCourtfoundon February 11,2011,thatAM Y R.ORTIZ shallpay acrim inalforfeiture

  moneyjudgmentof$212,874.93inUnitedStatesCurrency,pursuanttoFed.R.Crim .P.32.2(b)(1)
  and(2);Title18,UnitedStatesCode,Section981(a)(l)(C)andTitle28,UnitedStatesCode,Section
  2461(c.))Title 18,United StatesCode,Sedion 982(a)(2)(A);and Title 21,Unittd StatesCode,
  Section853û9.Docket#167.
         THEREFORE,IT ISHEREBY ORDERED,ADJUDGEDSAND DEcM ED thattheUnited

  Statesrecoverfrom AM Y R.ORTIZ a criminalforfeitlzre money judgmentin the amotmtof
  $212,874.93inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Title18,
  UnitedStatesCodt,Sedion 981(a)(1)(C)andTitle2%,United StatesCode,St/tion 2461(c);Title
  18,UnitedStatesCode,Section982(a)(2)(A);andTitle2l,UnitedStatesCode,Section853û9.
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